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IN THE UNITED STATES BANKRUPTCY COURT
FOR THE DISTRICT OF DELAWARE

Inre © Chapter 11

MORTGAGE LENDERS NETWORK USA,
INC.

Case No. 07-10146 (PJW)

Debtor. Ref. Docket No. 23(2 ¢ 35 Y 2

ENTRY OF FINAL DECREE AND ORDER CLOSING CASES

The Court having reviewed the certification of counsel, filed in accordance with the
Order Granting Motion of Neil F. Luria, the Liquidating Trustee of the Mortgage Lenders
Network Liquidating Trust for an Order Approving (I) Final Distribution, (II) Entry of Final
Decree and Procedures in Connection Therewith, and (IID) Related Relief [Docket No. 3312] (the

“Final Distribution Order”)', apprising the Court that a final distribution to creditors of the

Liquidating Trust’s assets has been made, that all outstanding fees owing to the United States
Trustee have been paid, and that the Liquidating Trust’s assets have been fully administered, and
good cause appearing therefor, it is hereby:

ORDERED that the Liquidating Trustee may, in its sole discretion, destroy or cause to
be destroyed any and all documents remaining in the actual or constructive possession of the
Liquidating Trustee (including those in possession of professionals) relating to these Chapter 11
Cases, with the exception of original claims and related information to be provided by the Claims
Agent to the Clerk of the Court; and it is further

ORDERED that the Liquidating Trustee, the Trust, the members of the Trust Advisory

Committee created pursuant to the Plan and Trust Agreement, and their respective predecessors,

' All capitalized terms not defined herein shall have the meaning ascribed to them in the Final Distribution Order.

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successors, affiliates, agents, employees, attorneys, officers, directors, and representatives are
hereby released and discharged from their respective duties and obligations in carrying out the
terms of the Plan and Confirmation Order and shall have no further responsibilities in connection
therewith; and it is further

ORDERED that the release and discharge granted hereunder are in addition to, and do
not otherwise alter, the releases, exculpations, and injunctions previously provided by this Court
pursuant to the Plan and Confirmation Order; and it is further

ORDERED that this Order constitutes the final decree in these cases pursuant to
Section 350 of the Bankruptcy Code section and Rule 3022 of the Federal Rules of Bankruptcy
Procedure and these cases are hereby closed; and it is further

ORDERED that this Order is without prejudice to the Court reopening these cases and
exercising jurisdiction over any dispute regarding the Debtor or the Liquidating Trust over which

it would have had jurisdiction if the cases had not been closed.

Dated: JA 0-2 wa! 2012
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Hon. Peter J. Walsh
United States Bankruptcy Judge

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